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              EXHIBIT T
           Mesiti Declaration
    Infringing Product Type 4 Chart
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THE CLOSEST COMPARATIVE DESIGNS, THE DESIGN CLAIMED IN THE `526 PATENT,
                 AND DEFENDANTS’ INFRINGING PRODUCT TYPE 4
                                                         Infringing Design
Front
Back     ‘924 Design
First Side
Second Side
Top
Bottom                    ‘446 Design    Patented Design       Type 4
